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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

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     ~           l LlJ11 J0J 0?;'10/
     (In the space above enter thefull name(s) of the plaintif!(s).)


                            - against -


                                                                                             COMPLAINT

                                                                                      Jury TrialQYes                                  D               No

                                                                                                             (check one)




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                                                                                         t   ;           'WILUAM ,·. Vll'Al.Sru, .....1.,:'lt'>.                                                          1:f
(In the space above enter thefull name(s) of the defendant(s). If you
                                                                                       ' · ',,,,;...__••,,      ,_ ..........       ~~                     .... -~"· ........ , ....... ·-·~" ...,, .. r>':ffe

cannot fit the names of all of the defendants in the space provided,
please write "see attached" in the space above and attach an
additional sheet ofpaper with the jitll list of names. The names
listed in the above caption must be identical to those contained in
Part I. Addresses should not be included here.)

I.          Parties in this complaint:

A.          List your name, address and telephone number. Do the same for any additional plaintiffs named. Attach
            additional sheets of paper as necessary.


Plaintiff           Name
                     Street Address
                     County, City
                     State & Zip Code
                    Telephone Number
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B.       List all defendants. You should state the full name of the defendants, even if that defendant is a government
         agency, an organization, a corporation, or an individual. Include the address where each defendant can be
         served. Make sure that the defendant(s) listed below are identical to those contained in the above caption.
         Attach additional sheets of paper as necessary.

Defendant No. 1                      Name      (L~<tc Ut;:l{ll4vu (~OVl~i~
                                      StrootAd&-ess (}.'J/5 ~ ~ G , o ~ i (
                                      County, City ~ (__,l(")!!'J
                                      State & Zip Code     rJe..uJ ~                      Oot-zo /
                                                                                           6CJC, 3 Cf;/- ~
Defendant No. 2                       Name&~
                                      Street Address   e?, ~ IS
                                                                          ~1:r
                                                           (3oc,-col-J!n1?{
                                      County, City ~ · (      c2f?J         ,
                                      State & Zip Code /V M ~           {3 {j ct:o /                                       <")
                                                                      u                   bO°f ~lf5r a,o6c:A
Defendant No. 3                      N,m,        J41~,.b{ U n ~ ~
                                      StreetAdd::5"tJ     /41~~
                                      County, City     t:J~ ~'/(fZ_                      ~
                                              C;:;.F~J~
                                      State &Zip                                        ·a~ 93 ~
                                          600, '3 8- 3 ~, S'-tf'" S5
Defendant No. 4

                                      Street A d d r e s s - - - - - - - - - - - - - - - - - - - - - - -
                                      County, City _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                      State &Zip C o d e - - - - - - - - - - - - - - - - - - - - -




II.      Basis for Jurisdiction:

Federal courts are courts oflimited jurisdiction. There are four types of cases that can be heard in federal court: 1)
Federal Question - Under 28 U.S.C. § 1331, a case involving the United States Constitution or federal laws or treaties
is a federal question case; 2) Diversity of Citizenship - Under 28 U.S.C. § 1332, a case in which a citizen of one
state sues a citizen of another state and the amount in damages is more than $75,000 is a diversity of citizenship case;
3) U.S. Government Plaintiff; and 4) U.S. Government Defendant.

A.      What is the basis for federal court jurisdiction? (check all that apply)
       ~ederal Questions                      D    Diversity of Citizenship

        ou.S. Government Plaintiff            ou.S. Government Defendant


B.       If the basis for jurisdiction is Federal Question, what federal Constitutional, statutmy or treaty right is at
         issue?       Af) t+- ( _u{},tu/

                                                       -2-
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            C.       If the basis for jurisdiction is Diversity of Citizenship, what is the state of citizenship of each party?

                     Plaintiff(s) state(s) ofcitizenship _ _tJ~5~j/;_-~--------------------

                     Defendant(s) state(s) of citizenship ___        __tl<
                                                                  L_J_S ____________________
            III.     Statement of Claim:

            State as briefly as possible the facts of your case, Describe how each of the defendants named in the caption of this
            complaint is involved in this action, along with the dates and locations of all relevant events. You may wish to
            include further details such as the names of other persons involved in the events giving rise to your claims. Do not
            cite any cases or statutes. If you intend to allege a number ofrelated claims, number and set forth each claim in a
            separate paragraph. Attach additional sheets of paper as necessary.             (}~

            A.       Where did the events giving 1ise to your claim(s) occur?             e;e.g_       ~


            B.       What date and approximate time did the events giving rise to your claim(s) occur?




  What
            C.       Facts:
happened
 to you?




 Who did
  what?




   Was
 anyone
   else
involved?




Who else
saw what
happened?



                                                                    -3-
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IV.      Injuries:


If you sustained injruies related to the events alleged above, describe them and state what medical treatment, if any,

you required and r e c e i v e d . - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -




V.       Relief:


State what you want the Court to do for you and the amount of monetary compensation, if any, you are seeking, and
the basis for such compensation.




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I declare under penalty of perjury that the foregoing is true and correct.


Signed this_fil_day of    iW\tt::tV\14(\.                                .20D
                                            Signature of Plaintif C.-.v-.f..LcA~~~:::'.:::::l;__('J__)~~~~
                                            Mailing Address --->...----,.,___ _ _ _ _ _ _ _ _ _ _ _ __




                                            Telephone Number
                                                                 -----------------
                                            Fax Number (ifyou have one)
                                            E-mail Address



Note:   All plaintiffs named in the caption of the complaint must date and sign the complaint.




                                                    -5-
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    1.)   I am disabled and receive a small disability subsidy.


    2.)   My disability qualifies me for Americans with Disabilities Act
          (ADA) 1 protection because I have physical impairments that
          substantially limit major life activities; major life activities
          include, but are not limited to, caring for oneself, performing
          manual tasks, seeing, hearing, speaking, eating, sleeping,
          walking, standing, lifting, bending, speaking, learning,
          reading, concentrating, thinking, communicating, and
          working etc.


    3.)   I have lived in Ritz Carlton since January 2019.


    4.)   I have disabilities that limit my mobility, ability to think
          and my activity.

    5.)   The building management was informed of my disability
          before I moved in on numerous occasions.

    6.)   My disability is visibly noticeable since I use a
          wheelchair.




1   ADA is a federal civil rights law
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7.)   I have been subjected to repeated verbal abuse that is
      demeaning, offensive, and mean-hearted because of my
      disability and/or problems related to it by the Ritz
      Carlton Condominium Association (RCCA), Allied
      Universal Security (AUi), and a Boardwalk Reality
      (BR)which is next to the security door entrance.

8.)   I explained that I need space and not harassment as a
      reasonable request. They have teased me and hurrahed
      me more.


9.)   Upon moving in I do not have access to my mailbox
      because there is no ramp to access it, which is illegal.

10.) I have told RCCA that it is illegal since I moved in, but
      they say they have made an accommodation but they
      made no accommodation for me and have not made a
      ramp.


11.) I have been asked to sign in daily to gain entry to my
      house; however, since I cannot access the swiper or the
      sign in I have been fined $700. These fines were never
      sent to me by mail or provided to me until they reached
      an amount of $700 (Exhibit A).
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12.) A mediator came to see me and she attempted to
     resolve the issue with Management at the Ritz Carlton
     Association which failed because they refused to install
     a ramp to the mailbox or have people give me space and
     stop harassing me.

13.) I was denied access to all the facilities in my building
     for my guests and myself because of these ADA
     prejudicial fines.


14.) I needed the gym and the pool but were not able to access
     them.

15.) A mediator determined I did nothing wrong and urged
     that I sign the mediation agreement, which she believed
    ' do not remove my rights. I signed it but have not given
     up my rights (Exhibit B).


16.) I have had to pay a locksmith for opening my apartment
     when other non-disabled residents can have their doors
     open for a nominal fee.

17.) I have asked the mediator to have the RCCA, AUi, and
      Boardwalk Realty, please take a course to understand
      ADA, or be sensitive to it and to comply with the law.
      She said she had no power and/or they had no desire to
      do so. I seek help with this matter to this Court
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18.) I have had to sit on the steps of Boardwalk Realty
     because of my weakened condition and was forcibly
     removed before my condition improved by the owner of
     Boardwalk Realty claiming it was "her steps".


19.) I have been able to have a professional relationship with
     many persons who work in RCCA and AUi; however, I
     have not been able to enjoy my apartment or my life
     while I have been living in the Ritz-Carlton in Atlantic
     City because of lack of due care associated with
     reasonable accommodation.


20.) I would please request that this Court issue an
     injunction relief for all violations to ADA practices to
     stop, cease the fine for my disability, provide a
     permanent ramp to gain access to the management and
     my mailbox, and if possible have Defendants undergo
     ADA sensitivity training for everyone in this lawsuit.

21.) The problems above are ongoing after the mediation took
     place and reasonably expected to continue.

     Respectfully Submitted,




     Jessica Berk
